
BOLIN, Judge.
Mr. and Mrs. Huhn were divorced in February 1972, and the wife was awarded alimony in the sum of $210 per month. Mr. Huhn filed the present rule against his former wife seeking a reduction in the alimony payments, primarily claiming she was employed in Alaska making a substantial monthly salary. The trial judge found Mrs. Huhn was employed at the time of the divorce and that Mr. Huhn had failed to prove any changed conditions or that Mrs. Huhn had sufficient means for her support. From judgment rejecting the demands of plaintiff in rule, he appeals.
We find the evidence supports the trial court’s judgment, and it is affirmed at appellant’s cost.
